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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

UNITED STATES OF AMERICA,
                                                               CRIMINAL CASE NO. 06-20531
       Plaintiff,                                              HON. LAWRENCE P. ZATKOFF

v.

STEVEN BRIAN SHOR,

      Defendant.
____________________________________/

                                             OPINION

               AT A SESSION of said Court, held in the United States Courthouse,
                in the City of Port Huron, State of Michigan, on October 25, 2007

                    PRESENT: THE HONORABLE LAWRENCE P. ZATKOFF
                            UNITED STATES DISTRICT JUDGE

                                       I. INTRODUCTION

       This matter is before the Court on Defendant’s Objections to Court’s Sentencing Opinion

(Docket #43). On October 2, 2007, the Court held a sentencing hearing. After taking into

consideration (1) the Defendant’s sentencing memorandum, (2) the statements of the Defendant,

defense counsel and government counsel, and (3) the information contained in the Presentence

Investigation Report (“PSR”) for the Defendant, the Court sentenced Defendant to 60 months

imprisonment. In addition, the Court instructed the parties that the Court would issue a written

sentencing opinion setting forth the Court’s reasons for imposing the 60 month sentence. The Court

further instructed the parties that they could file objections to the sentence imposed if they desired,

provided that they filed their written objections within five days of the date the Court issued its

written Opinion. On October 12, 2007, the Court issued its written Opinion regarding Defendant’s

sentence. Defendant then timely filed the instant Objections. The Court notes that each of
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Defendant’s objections raised in his post-sentencing opinion filing was raised previously in the

Sentencing Memorandum Defendant filed with the Court. The HYTA and related conduct

objections were also presented to the Court at the sentencing hearing.

       After thorough review and consideration of Defendant’s renewed objections, the Court

adheres to the sentence of 60 months imposed on October 2, 2007.


       IT IS SO ORDERED.



                                             s/Lawrence P. Zatkoff
                                             LAWRENCE P. ZATKOFF
                                             UNITED STATES DISTRICT JUDGE

Dated: October 25, 2007

                                 CERTIFICATE OF SERVICE

       The undersigned certifies that a copy of this Order was served upon the attorneys of
record by electronic or U.S. mail on October 25, 2007.


                                             s/Marie E. Verlinde
                                             Case Manager
                                             (810) 984-3290




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